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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Chapter 7
DOWNEY FINANCIAL CORP.,

CA. No. 08-13041 (CSS)
Debtor.

MOTION AND ORDER FOR ADMISSION PRO HAC VICE

Pursuant to District Court Rule 83.5, Local Rule 9010-1(b) and the attached certification,
the undersigned counsel moves the admission pro hac vice of Dan Marmalefsky of Morrison &

Foerster LLP, 555 West Fifth Street, Suite 3500 Los Angeles, California 90013 to represent
defendants Maurice L. McAlister, Daniel D. Rosenthal, Brian E. Coté, Michael B. Abrahams,
Michael D. Bozarth, Gary W. Brummett, James H. Hunter, G. Brent McQuarrie, Lester C. Smull,

Jane Wolfe and Cheryl E. Olson in the above-captioned matter.

Dated: July 10, 2009 ASHBY & GEDDES P.A.

Mow dé Mewes

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Stacy L. Newman (No. 5044)
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ORDER GRANTING MOTION

IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.

Dated: July 10, 2009

The Honorable Christopher S. Sontchi
United States Bankruptcy Judge
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CERTIFICATION BY DAN MARMALEFSKY
TO BE ADMITTED PRO HAC VICE

Pursuant to District Court Rule 83.5 and Local Rule 9010-1, I certify that I am eligible
for admission to this Court, am admitted, practicing and in good standing as a member of the Bar
of California and submit to the disciplinary jurisdiction of this Court for any alleged misconduct
which occurs in the preparation or course of this action. I also certify that I am generally
familiar with this Court’s Local Rules and with the Standing Order for District Court Fund
effective January 1, 2005. I further certify that the annual fee of $25.00 has been paid to the

Clerk of Court for District Court.

(oO 2009

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